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   United States of America
 7
 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          Case No.: 2:16-CR-00239-MCE
12
                                  Plaintiff,            STIPULATION FOR THE DEPOSIT OF FUNDS
13                          v.                          INTO THE COURT’S DEPOSIT FUND; AND
                                                        ORDER THEREON
14   LORAINE DIXON,
                                                        [No Hearing Requested]
15                                Defendant.
16
17
18          Plaintiff United States of America and defendant Loraine Dixon, through their authorized
19 representatives (the Parties), hereby seek an order authorizing Defendant to deposit $10,100.00 into the
20 Court’s deposit fund pending the outcome of this criminal prosecution.
21          The Parties stipulate as follows:
22          1.     The indictment in this case charges Defendant with a violation of 15 U.S.C. § 1—Bid
23 Rigging. She entered a guilty plea to the charge pursuant to the Parties’ plea agreement filed on August
24 8, 2019 (ECF No. 114). According to the plea agreement, Defendant is subject to a special assessment
25 and fine.
26          2.     The Court entered Defendant’s guilty plea to Count 1 of the indictment and adjudged her
27 guilty following her change of plea hearing. ECF No. 111. Sentencing is currently set for October 31,
28 2019. ECF No. 115.


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 1          3.     Defendant is subject to a $100.00 special assessment. The presentence report

 2 recommends that the Court impose a $10,000.00 fine. Defendant is prepared to pay the $100.00 special
 3 assessment and $10,000.00 to the Clerk of the Court within five days of the Court’s order approving this

 4 stipulation.
 5          4.     Based on the foregoing, the Parties agree the Court can and should enter an order

 6 directing:
 7                 A.      Defendant to pay $10,100.00 to the Clerk of Court within five days following the

 8 filing of the order approving this stipulation according to the payment instructions stated in the
 9 accompanying order; and
10                 B.      The Clerk of Court to deposit Defendant’s payment into the Court’s Deposit Fund

11 and apply those funds to all criminal monetary penalties the Court orders at sentencing.
12                                                        Respectfully submitted,

13 FOR THE UNITED STATES:                                 McGREGOR W. SCOTT
                                                          United States Attorney
14
15
     Dated: October 22, 2019                       By:    /s/ Kurt A. Didier
16                                                        MATTHEW M. YELOVICH
                                                          KURT A. DIDIER
17                                                        Assistant United States Attorneys
18
19 FOR DEFENDANT LORAINE DIXON:
20
21 Dated: October 22, 2019                         By:    /s/ Loraine Dixon
                                                          LORAINE DIXON, an individual
22
23
24
     APPROVED AS TO FORM AND CONTENT:
25
26
     Dated: October 22, 2019                       By:    /s/ Timothy E. Warriner
27                                                        TIMOTHY E. WARRINER
28                                                        Attorney for Defendant Loraine Dixon


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 1                                                  ORDER

 2          The Court, having reviewed the court files and the Parties’ Stipulation for the Deposit of Funds

 3 into the Court’s Deposit Fund (the Stipulation), and good cause appearing therefrom, hereby

 4 APPROVES the Stipulation. Accordingly, IT IS ORDERED that:
 5          1.      Defendant Loraine Dixon shall PAY $10,100.00 to the Clerk of Court within five days

 6 following the filing of this order.
 7          2.      Defendant shall make her payment PAYABLE to the “Clerk of the Court” at the Office
 8 of the Clerk, United States District Court, Eastern District of California, 501 I Street, Suite 4-200,
 9 Sacramento, California 95814. Defendant shall also state the docket number (Case No.: 2:16-cr-00239-
10 MCE) on the payment instrument and, if she desires a payment receipt, shall include a self-addressed,
11 stamped envelope with the payment.
12          3.      The Clerk of Court shall DEPOSIT Defendant’s prejudgment payment into the Court’s
13 Deposit Fund (the Fund).
14          4.      Defendant’s prejudgment payment shall REMAIN in the Fund pending adjudication of
15 this case. Upon sentencing, the Clerk of Court shall APPLY the payment towards the criminal monetary
16 penalties ordered in the case. If the Court orders criminal monetary penalties in an amount less than
17 Defendant’s prejudgment payment, the Clerk of Court shall RETURN the surplus to the Defendant
18 within thirty days following entry of judgment.
19          IT IS SO ORDERED.
20 Dated: October 28, 2019
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